                  Case 3:16-bk-03913-JAF                Doc 27       Filed 01/05/18   Page 1 of 2

[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: January 5, 2018




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                         JACKSONVILLE DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                      Case No. 3:16−bk−03913−JAF
                                                                            Chapter 7
Lilly Josephine Real
fka Lilliana Maria Real



________Debtor*________/



                          ORDER ABATING MOTION FOR SUMMARY JUDGMENT

    THIS CASE came on for consideration, without hearing, of the Motion for Summary Judgment by Creditor
Frank E. Polo , Doc. # 25 . After a review of the motion , the Court determines that the motion is deficient as
follows:

             The motion does not include an original or electronic signature of the movant as required
         by Fed. R. Bankr P. 9011.

            The motion does not include a signed and dated proof of service as required by Local
         Rule 9013−1.

             The prescribed filing fee of $ , as required by the Bankruptcy Court Schedule issued in
         accordance with 28 U.S.C § 1930 was not paid.

             The negative notice legend is not fully displayed on the first page as prescribed by Local
         Rule 2002−1 or the language used in the negative notice legend does not conform to the
         approved negative notice legend language as provided in Local Rule 2002−4.

              The motion does not specifically describe the property, including the legal description if
         real property, or VIN if vehicle.

             The Motion for Referral to Mortgage Modification Mediation does not include a complete
         property address.
                Case 3:16-bk-03913-JAF             Doc 27      Filed 01/05/18       Page 2 of 2

            The Motion for Referral to Mortgage Modification Mediation does not include the last
        four digits of the mortgage loan number.

             The Motion for Referral to Mortgage Modification Mediation does not include the name
        of the mortgage creditor.

            The reaffirmation agreement does not include a signature of both the Debtor and Creditor.

            The Chapter 11 Fee Application does not include the Chapter 11 Fee Application
        Summary required by Local Rule 2016−1(c)(2)(i) or the summary is not placed within the
        application in the location required by Local Rule 2016−1(c)(2)(i).

   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected. No additional filing fee will be
assessed for the filing of any amended motion filed for the purposes of correcting the noted deficiency.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
